                               UNITED STATES DISTRICT COURT

                           MIDDLE DISTRICT OF NORTH CAROLINA


UNITED STATES OF AMERICA


       v.                                            Case Number:
MARCOS ARRIAZA-RIOS                                                 1:18CR303-1
JOSE ALBERTO PEREZ                                                  1:18CR303-2
SALVADOR VALADEZ, JR.                                               1:18CR303-3
MICHAEL EDWARD HEHIR, JR.                                           1:18CR303-4
DANA ELIZABETH DUNCAN                                               1:18CR303-5
ALIBBIA JO MICHAUD                                                  1:18CR303-6
RODNEY NEIL HARDIN                                                  1:18CR303-7
CHARLES STANLEY BANGERT, JR.                                        1:18CR303-8
ASHLEY DAWN SANDERS                                                 1:18CR303-9
BRAD SCOTT BRUCE, JR.                                               1:18CR303-10
EDWARD LEE ALEXANDER BLAIS                                          1:18CR303-11
RICHARD TREY WRIGHT                                                 1:18CR303-12
ASHLEY PAIGE KRAMER                                                 1:18CR303-13
JACOB DANIEL JOHNSON                                                1:18CR303-14
JAMES QUINCEY SMITH                                                 1:18CR303-15
DANIEL DEWAYNE WOOD                                                 1:18CR303-16
TIMOTHY BAXTER DAY                                                  1:18CR303-17
ROY LEE HARTFORD, JR.                                               1:18CR303-18
GARY RAY WALLER, JR.                                                1:18CR303-19
ALYSSA MARY BROOKE ASHLEY                                           1:18CR303-20
BRENDA SUE BOSTIAN                                                  1:18CR303-21
BRITTANY DAWN THOMAS                                                1:18CR303-22
MORGAN NICHOLE PEPPER                                               1:18CR303-23
SAMUEL BLAKE HELTON                                                 1:18CR303-24
AMANDA MARIE HARDISON                                               1:18CR303-25
BILLY JACK FLEMING                                                  1:18CR303-26
BROCK MICHAEL ROWE                                                  1:18CR303-27
ROBERT EARL HOLCOMB                                                 1:18CR303-28

                            N O T I C E

Take notice that a proceeding in this case has been set/reset as
indicated below:

           PLACE:         L. Richardson Preyer Federal Courthouse, 324 West
                          Market Street, Greensboro, N.C.
COURTROOM NO.:            2
DATE AND TIME:            This case will be called during the first
                          week of the September Criminal Term of Court
                          beginning September 4, 2018
    PROCEEDING:           ARRAIGNMENT
_________________________________________________________________
John S. Brubaker, Clerk

By: /s/ Joy Daniel, Deputy Clerk

Date: August 29, 2018  




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